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                             Exhibit “C”
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                                                         MECHANICAL EQUIPMENT
                                    #: 63
                                                                AND SERVICE
                                                                 AGREEMENT

                                                                          between

                                                      THE UNITED_A.S.SQCIATION OF
                                                     JOURNEYMEN'AND~PPRENTICES
                                                          OF   T~~,f~p¥,£f~~~AND
                                                      PIPE FIT~!~~(ii~~~~~Y.y of the
                                                      UNITED STAif'ESlill'd
                                                                .'-_'rQ H ~~~;/
                                                                                CANADA
                                                         LOCAL UNIDN NUMBER 1

                                                                           and the

                                                               ASSOCIATION OF
                                                        CONT~~}tJ;t~? ~Ml~BERS
                                                     oF THE crt¥ OF 'NEW YORK, INC.
                                                                 ;,- •'··>~''''"-'"·'"<' '··-·' ,, ...




                                                                    Effective Dates
                                                      October 1, 2009 through September 30, 2013
                                                                                                         ,_
                                                                                                         '

                                                                                                         !
           AGREEMENT effective the lst day of October, 2009 by                  all such work. This Agreement is and shall be binding
           and between the ASSOCIATION OF CONTRACTING
Case 1:17-cv-00245-DLI-VMS                   Document 16-3
           PLUMBERS OF THE CITY OF NEW YORK, INC.
                                                                         Filed 09/28/17        Page
                                                                               upon the Employer        4 ofor25
                                                                                                 and his/her       PageIDassigns,
                                                                                                              its successors,
                                                                                beneficiaries and legal representatives, and each officer
           hereinafter designated as the "Association,"    #: acting
                                                               64               of the Employer. The Employers and the Union agree to
           on behalf of its members including such plumbing                     be bound by any contract renewal, changes, modifications
           contractors as may be admitted to membership in its                  and extensions which may be negotiated after this day
           Association during the life ofthis Agreement, andlor any             and put into effect by and between Plumbers Local No.' 1
           extension or renewals thereof, and LOCAL UNION NO. 1                 and the Association of Contracting Plumbers of the C1ty
           OF THE UNITED ASSOCIATION OF JOURNEYMEN                              ofNew York, Inc.
           AND APPRENTICES OF THE PLUMBING AND PIPE
           FITTING INDUSTRY OF THE UNITED STATES AND                                              BARGAINING UNIT
           CANADA, hereinafter designated as the "Union," as the
           collective bargaining representative for all Journeymen                  WHEREAS, the ASSOCIATION OF CONTRACTING
           and Helpers engaged in Mechanical Equipment and                       PLUMBERS OF THE CITY OF NEW YORK, INC. 1s an
           Service Division work in the 5 counties comprising New                association of plumbing contractors employing workers
           York City. All Employers that are bound, committed,                   performing both construction and Mechanical Equip~
           covered or otherwise signed to this Agreement hereby                  ment and Service Division work, desirous of dealing
           designate and acknowledge that the said Association is                collectively with the Union with respect to Mechanical
           their duly authorized Bargaining Representative in the                Equipment and Service Division work and,
           negotiations of the foregoing Agreement and the matters
           therein contained and of any amendment and extensions                    WHEREAS, the Union is a labor union duly chartered
           that may hereafter be made thereto or in the negotiation of           as a branch of the United Association of Journeymen and
           any succeeding Agreements. If the signatory contractor                Apprentices of the Plumbing and Pipe Fitting Industry
           performs on site service work of the type covered by this             of the United States and Canada, with jurisdiction in the
           Agreement, under its own name or the name of another,                 five counties which comprise the City ofNew York and is
           as a corporation, company, partnership, or other business             the duly authorized and exclusive bargaining agent for all
           entity, including a joint venture, wherein the Contractor,            Journeymen Plumbers and Helpers performing plumbi.ng
           through its officers, directors, partners, owners or                  installations in the Mechanical Equipment and Servtce
           stockholders exercise directly or indirectly (including               Division, employed and be employed by the parties to this
           but not limited to management control, or majority                    Agreement; and
           ownership through family members), management
           control, or majority ownership through family members,
           management, control or majority ownership; the terms
           and conditions of this Agreement shall be applicable to
                                                                                                                                              i-
                                          -2-                                                               -3-
                  WHEREAS, the Association and the Union desire to              5 years of practical work experience and successfully
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           establish fair and equitable conditions       16-3
                                                   of employment               completed 2 years
                                                                         Filed 09/28/17      Pageof journeymen upgrade classes;
                                                                                                     5 of 25 PageID
           with respect to Mechanical Equipment and#:Service                    SlJCh member may be eligible to take the Building &
                                                           65                   Construction Trades Jomneyman Plumber examination.
               Division work throughout the industry and to proyide
               a method for peaceful adjustments of all disputes in             The Association shall be notified as to the date and time
               order to assure uninterrupted operation and general              of the examination.
               stabilization of the industry_;
                                                                                  SECTION 5. No "A" Division member may be
                                                                                employed in the Mechanical Equipment and Service
               NOW, THEREFORE, IN CONSIDERATION OF
                                                                                Division without the consent of the Union.
               THE MUTUAL PROMISES, COVENANTS AND
               CONDITIONS, hereinafter set forth, the parties agree as              SECTION 6.      The parties agree that signatory
               follows:                                                          contractors who are not party to the "A Field" and "Oil
                                                                                 Trades" Agreements shall be bound by the provisions
                                     ARTICLE/                                    of those agreements when performing plumbing
                                                                                 installations deemed as "New Construction" or "Pump
                   SECTION 1. This Agreement applies to Mechanical
                                                                                 and Tank".
                Equipment and Service Division work performed in the
                five counties which comprise the City of New York and                                  ARTICLE II
                any reference to Journeymen or Helpers shall mean,
                unless otherwise indicated, Journeymen and Helpers               The parties agree to the following Working Rules:
                who perform Mechanical Equipment and Service
                Division work.                                                      RULE 1. On construction jobs the regularly scheduled
                                                                                 days of employment of Journeymen and Helpers shall be
                   SECTION 2. This Agreement shall be effective
                                                                                 Monday to Friday, inclusive, with 8 hours of work 011 each
                as of October 1, 2009 and shall remain in effect until
                                                                                 day and from 8:00a.m. to 12:00 p.m.(noon), and from 12:
                September 30,2013.
                                                                                 30 p.m. to 4:30p.m. At the Employers option, if any other
                   SECTION 3. Upon hiring any Journeymen or                      trade commences work earlier, so may the plumber.
                Helpers an Employer must notify the Union which
                shall issue a temporary membership card valid for 60                For service work, the regularly scheduled days of
                days. Thereafter, in order to continue employment the            employment of Journeymen and Helpers shall be Monday
                Employee must be sponsored by such Employer and shall            to Friday inclusive, with 8 hours of work on each day or
                be accepted as a member of the Local Union.                      10 hours on 4 days with start times from 6:00a.m. to 10:
                                                                                 00 a.m. and ending no later than 6:30p.m.
                  SECTION 4. After a Journeyman Plumbers has had

                                                                                                            -5-
                                                                                      to pay fringe benefits required by this Agreement shall
              No work shall be performed during any hours other
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           than those specified above or any Saturday, SundaY,
                                                                              Filed 09/28/17
                                                                                    be reimbursed forPage    6 upofto25
                                                                                                      time lost          PageID
                                                                                                                      three (3) days pay at
                                                      #: Fourth
           New Year's Day, President's Day, Memorial Day, 66                          the regular hourly rate by the Employer who defaulted in
               of July, Labor Day, Thanksgiving Day, the Friday after                 payment of the required fringe benefits.
               Thanksgiving and Christmas Day, except in case of
                                                                                         RULE 3. The Employer is required to post a monthly
               emergency, in which event, Employees shall receive time
                                                                                      shop card which signifies that the fringe benefits
               and one-half for their labor.
                                                                                      payments for the Mechanical Equipment and Service
                                                                                      Division were paid for the previous month. No Employee
                   Flexible starting times are provided in this Agreement
                                                                                      shall commence or continue working in a shop unless
               for service and maintenance under the following terms
                                                                                      such card has been issued, is posted and in effect. The
               and conditions:
                                                                                      card is issued by Plumbers Local Union No. 1. All fringe
               A) The first shift (day shift) shall be worked between the
                                                                                      benefits are due to the Joint Plumbing Industry Board by
               hours of8.:00 ~.m. and 4:30p.m. Workers on the day shift
                                                                                      the date established by the applicable Trust Fund. A list
               shall rece1ve etght (8) hours pay at the regular hourly rate
                                                                                      of Delinquent Employers shall be furnished to the Union
               for eight (8) hours work.
                                                                                      and the Association monthly, by the Joint Plumbing
               B) The second shift (swing shift) shall be worked
                                                                                      Industry Board.
               between the hours of 4:00 p.m. and 12:30 a.m. Workers
               on the "swing shift" shall receive eight (8) hours pay at                 RULE 4. Labor has established a Political Action Fund
               the regular hourly rate.                                                with a five cent ($.05) per hour voluntary contribution.
               C) Third Shift (graveyard shift) shall be worked between                The Employer shall make the appropriate deduction upon
               the hours of 12:00 a.m. (midnight) and 8:30a.m. Workers                 presentation of a proper authorization card signed by the
               on the "graveyard shift" shall receive eight (8) hours pay              Employee and forward such deduction to the Local Union.
               at the regular hourly rate.                                             This rule applies to both Journeymen and Helpers.
               D) Workers on the "swing" and "graveyard" shifts shall
               also be paid a 5% differential premium- wages only.                       RULE 5. If a Journeyman or Helper reports to a job
               E) A lunch/dinner period of thirty (30) minutes shall be                without having been first notified not to report, such
               allowed on each shift.                                                  Employee shall be paid one-half (1/2) day's pay.
               F) All overtime work required after the completion of
               regular or shift work shall be paid at one and one-half                    RULE 6. It shall be optional with an Employer that he/
               (1\-S) times the hourly rate.                                           she may work himselfJherself; but if he/she employs one
                                                                                       or more Employee(s) they shall be Journeymen Plumbers,
                . RULE 2. An Employee who is compelled to lose                         except as otherwise provided.
               tlme from work because of the failure of his Employer

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                                                                                                                  -7-
                                                                                     is called out he/she shall be entitled to a nan tli-!J nuu1
              RULE 7. Work defined under the terms of this                           travel time each way for a total of one (1) hour (wages and
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           agreement shall include any repair               16-3of
                                              and/or replacement               Filed fringes)
                                                                                      09/28/17             Page
                                                                                               if the Employee gets7theof 25 PageID
                                                                                                                        customer  to sign a ticket
                                                          #: 67
           the present plumbing system at commercial sites.                          for that travel time.

                   RULE 8. This Agreement shall not include work                           RULE 10. Management and Labor agree to the strict
                performed for Building Trade projects.                                 observance of all City, State and Federal on the job safety
                                                                                       requirements including Occupational Safety and H~alth
                   RULE 9. (a) The Employer is to furnish all tools                    Act (OSHA) regulations. It is agree~ by Labor that tf an
                and equipment necessary to perform the work covered                    Employer is penalized by OSHA and tt can be proved that
                by this Agreement and no Employee is to furnish any                    the fine was caused by the direct refusal or neglect of an
                tools except the Rule and Wiping Cloths. All tools and                 Employee to comply with OSHA regulations, it will be
                equipment (scaffolds, ladder, etc.) shall at least meet the             the obligation of the Employee to make restitution to the
                standard set by the Safety Division of the New York State               Employer for the full amount of the penalty. A ~opy ~f ~11
                Department of Labor.                                                    Accident Reports shall be sent to the Union off1ce wtthm
                                                                                        five (5) days after each accident, provided the Employee
                (b) The Employer may keep a record of his/her tools                     reported the accident to the Foreman. Such reports are to
                to guard against loss. Journeymen who receive tools                     be used solely as Union Records and for no other purpose.
                from the Employer, and for which a receipt is given to                   A copy of the Accident Report shall be forwarded by the
                the Employer, shall be responsible for such lost tools.                  Foreman to the Employer.
                Journeymen must replace or pay for lost or missing tools
                furnished by the Employer and for which the later holds                                   ARTICLE III
                a receipt from his/her Journeymen. Responsibility rests                         WAGE AND FRINGE BENEFIT RATES
                with the Journeymen during working hours only.
                                                                                           Commencing with the effective dates of this
                (c) In cases where Employers wish their Employees to                    Agreement, the Employer agrees to pay to and on behalf
                wear uniforms, such uniforms and their laundering and                   of his/her Journeymen the rates set forth in Table No. 1.
                maintenance will be left to the individual agreements                   The Employer also agrees to pay to and on behalf of the
                between Employers and their Employees.                                  Helpers the rates set forth in Table No.2.

                (d) Employees shall receive one (1) hour wages at the
                straight time rate, including fringe benefits, for Saturday,
                Sunday and holiday on-call. If the Employee is called
                out, the one (1) hour on-call pay for that day shall be
                applied to the hours worked that day. When an Employee                                                                               1-
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                                                                                                          ----------------
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                                                                                         TABLE NO. 1- JOURNEYMEN
                                                                          $4.05 per hour wage increase over the following eight increments

                                                                                                                   Personal                  Hourly           Total
                                                                                       Hourly        Hourly          Safety                  Fringe
                                                         Period                                                                                               Wage
                                                                                      Increases       Wages        Expense                  Benefit**        Package
                                                         10/112009 thru 3/31/2010         .0          $3!.61          $.28                   $14.70           $46.59
                                                        4/112010 thru 9/30/2010           .25
                                                         1011/2010 tl'ru 3/31/2011        .50
                                                 -'
                                                 0
                                                  '     4/112011 thru 9/30/2011
                                                        10/112011 thru 3/3112012
                                                        4/1/2012 thru 9/30/2012
                                                                                          .50
                                                                                         .50
                                                                                         .80*
                                                        10/1/2012 thru 3/1/2013          .75
                                                        4/112013 thru 9/30/2013          .75
                                                        All allocations of the above increments will be by the Union.
                                                        INTERNATIONAL
                                                           . .          . TRAINING    _ FUND·· TheE mp Ioyer agrees to m<t.~~.e
                                                                                                                           -'· contributions
                                                                                                                                        ·    to The International
                                                        Trammg Fund off1ve cents ($.05) per hour for each hour worked by all Employees covered under this
                                                        Agreement.

                                                        *April!, 2012, the contribution will be increased to ten cents {$.10) per hour worked.




                                                      ORGANIZING FUND: Ten cents ($.10) per pay hour shall be deducted from net weekly wages to be used
                                                      for Local 1 organizing purposes.

                                                      PLUMBERS AND PIPEFlTTERS NATIONAL PENSION FUND: The Employer agrees to make
                                                      contributions to The Plumbers and Pipefitters National Pension Fund in accordance with the Standard Form of
                                                      Participation Agreement.

                                                      PLUMBING INDUSTRY PROMOTION FUND: Each Employer is to contribute to the Plumbing Industry
                                                      Promotion Fund ofNew York City twenty~five cents ($.25) per hour fur each pay hour worked by the Employee
                                                      of the Employer and such contributions may be increased to thirty-five cents ($.35) per hour during the life of

                                             --
                                             '
                                             '
                                                      the Agreement by the adoption of a resolution by the Trustees.

                                                      **Includes Promotion Fund contribution

                                                      EXPENSE ALLOWANCE FOR PERSONAL SAFETY ITEMS: Twenty-eight cents ($.28) per hour shall be
                                                      paid to Journeymen for each hour worked, (work hour) as an expense allowance to provide the funds for his/her
                                                      personal safety and health related items. Since this is an expense allowance, it should be paid separate from
                                                      wages and should be paid on the same day and at the sarne time as wages.

                                                      UNION ASSESSMENT CHECK~OFF: 3% of gross weekly pay shall be deducted from wages as a Union
                                                      Assessment "Check-off".
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                                                                                           TABLE NO.2- HELPERS
                                                                                                                                       Per              Fringe
                                                                                                                                      Hour             Benefits**
                                                    lst Year             1st Term           (1st 6 months)                           $10.00             $ .30
                                                    1st Year             2nd Term           (2nd 6 months)                           $10.00             $9.27
                                                   2nd Year              Helper             Minimum Hourly Wage                      $12.63*            $9.27
                                                   3rd Year              Helper             Minimum Hourly Wage                      $13.63*            $9.27
                                                   4th Year              Helper             Minimum Hourly Wage                      $15.13*            $9.27
                                                   5th Year              Helper             Minimum Hourly Wage                      $17.13*            $9.27
                                             '
                                             ~



                                             "'' increases.
                                                 * Helpers employed in years 2 thru 5 shall receive one-half (112) of all Journeymen wage

                                                   INTERNATIONAL TRAINING FUND· Th E                            ·
                                                     . .                      ·   e mployer agrees to make contnbutions to The International
                                                   Tr~~.:g :und of five cents ($.05) per hour for each hour worked by all Employees covered under this Agreement
                                                   unti   pnl, I, 2012, when the contribution will be increased to ten cents ($.10) per hour worked.




                                                   ORGANIZING FUND· Ten cents ($.10) per pay hour shall be deducted from net weekly wages to be used for
                                                   Local 1 organizing purposes.

                                                   PLUMBERS AND PlPEFITTERS NATIONAL PENSION FUND: The Employer agrees to make
                                                   contributions to The Plumbers and Pipefitters National Pension Fund in accordance with the Standard form of
                                                   Participation Agreement.

                                                   PLUMBING INDUSTRy PROMOTION FUND: Each Employer is to contribute to the Plumbing Industry
                                                   Promotion FundofNew York City twenty-five cents ($.25) per hour for each pay hour worked by the Employee
                                             ~     ofthe Employer and such contributions may be increased to thirty-five cents ($.35) per hour during the life of
                                             ~     the Agreement by the adoption of a resolution by the Trustees.
                                                   **Includes Promotion Fund Contribution.

                                                   EXPENSE ALLOWANCE FOR PERSONAL SAFETY ITEMS: 1\venty-eight cents ($.28) per hour shall
                                                   be paid to Helpers for each hour worked (work hour), as an expense allowance to provide the funds for hisfher
                                                   personal safety and health related items. Since this is an expense allowance, it should be paid separate from
                                                   wages and should be paid on the same day and at the same time as wages.

                                                   UNION ASSESSMENT CHECK-OFF: 3% of gross weekly pay shall be deducted from wages as a Union
                                                   Assessment "Check-off''.




                                                                                                                 --~·-··   ... ·~---· -~------~--. -~------
                                   ARTICLE IV                                    (e)   $0.00 per hour for each Journeyman, for each hour
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                      FRINGE BENEFITS                                              worked, to the
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                                                                                                      10 ofSecurity Benefits Fund,
                                                                                                             25 PageID
                                                                                       Mechanical Equipment and Service Division,
                                      #: 70                                            Plumbers Local Union No. 1, U.A.
                  The Employer agrees, in addition to the wages, to
           pay on behalf of each Journeyman and Helper the fringe
           benefits set forth in Tables I and 2.                                 (f)   $.75 per hour for each Journeyman, for each hour
                                                                                       worked, to the 401(k) Savings Plan, Mechanical
               The allocation of Fringe Benefits as of October 1, 2009                 Equipment and Service Division, Plumbers Local
            are as follows:                                                            Union No. 1, U.A.

                                 JOURNEYMEN                                      (g)   Each Employee shall also open an individual
                                                                                       account to participate in the Plumbers Local No.
            (a)     $6.85 per hour for each Journeyman, for each                       l Employee 40l(k) Savings Plan (40l(k) Plan).
                    hour worked, to the Welfare Fund, Mechanical                       Each Employer of an Employee agrees to be bound
                    Equipment and Service Division, Plumbers Local                     to the Trust Agreement of the 401(k) Plan and to
                    Union No. 1, U.A.                                                  remit all Employee contributions as soon as such
                                                                                       contributions can be reasonably segregated from
            (b)     $2.41 per hour for each Journeyman, for each hour                  the general assets of the Employer but no later than
                    worked, to The Plumbers and Pipefttters National                    two (2) business days after the end of the payroll
                    Pension Fund in accordance with the Standard Form                   period from which the Employee contributions
                    of Participation Agreement.                                         were made and deducted from the wages of the
                                                                                        Employee. Retention of these contributions by an
            (c)     $4.09 (includes $.29 FICA) per hour for each                        Employer beyond the period established by the U.S.
                    Journeyman, for each hour worked, to the Vacation                   Department of Labor regulation at 29 CFR 2510.3-
                    and Holiday Fund, (Vacation and Holiday Fund                         102 makes the Employer a fiduciary with respect
                    subject to FICA), Mechanical Equipment and                           to such Employee contributions. Failure to remit
                    Service Division, Plumbers Local Union No. 1,                        Employee contributions on a timely basis shall make
                    U.A.                                                                 the Employer liable for interest and any lost earnings
                                                                                         or restoration of profits resulting from the failure to
            (d)     $.30 per hour for each Journeyman, for each hour                     remit on a timely basis. The minimum mandatory
                    worked, to the Trade Education Fund, Mechanical                      deduction shall be one percent (1 %) of the gross
                    Equipment and Service Division, Plumbers Local                       weekly wage of each Employee. The maximum
                    Union No. I, U.A.                                                     contributions shall be determined by each Employee
                                                                                          subject to the laws governing the Fund.                  i-

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             (h)    Fringe Benefits for overtime shall be paid at a                        to the 40l{k) Savings Plan, Mechanical Equipment
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              straight time rate.               Document 16-3              Filed 09/28/17
                                                                                     and Service Page
                                                                                                 Division,11  of 25Local
                                                                                                           Plumbers  PageID
                                                                                                                         Union No. 1,
                                                       #: 71                               U.A.
                                     HELPERS
                                                                                   (g)     Each Employee shall also open an individ~al
             (a)    $5.26 per hour for each Helper, for each hour                          account to participate in the Plumbers Local Umon
                    worked, to the Welfare Fund, Mechanical Equipment                      No. I Employee 401(k) Savings Plan (401(k) Plan).
                    and Service Division, Plumbers Local Union No. I,                      Each Employer of an Employee agrees to be bound
                    U.A.                                                                   to the Trust Agreement of the 40l(k) Plan and to
                                                                                           remit all Employee contributions as soon as such
             (b)    $1.15 per hour for each Helper, for each hour                          contributions can be reasonably segregated from
                    worked, to The Plumbers and Pipefitters National                       the general assets of the Employer but no later than
                    Pension Fund in accordance with the Standard Form                      two (2) business days after the end of the payroll
                    of Participation Agreement as on file at the Joint                      period from which the Employee contributions
                    Plumbing Industry Board and made a part of this                         were made and deducted from the wages of the
                    Agreement.                                                              Employee. Retention of these contributions by
                                                                                            an Employer beyond the period established by the
             (c)    $2.00 per hour (includes $.14 FICA) for each Helper,                    U.A. Department of Labor regulation at 29 CFR
                    for each hour worked, to the Vacation and Holiday                       2510.3·102 makes the Employer a fiduciary with
                    Fund, (Vacation and Holiday Fund subject to FICA),                      respect to such Employee contributions. Failu~e
                    Mechanical Equipment and Service Division,                               to remit Employee contributions on a timely bas1s
                    Plumbers Local Union No. 1, U.A.                                        shall make the Employer liable for interest and any
                                                                                             lost earnings or restoration of profits resulting from
             (d)    $.18 per hour for each Helper, for each hour                             the failure to remit on a timely basis. The minimum
                    worked, to the Trade Education Fund, Mechanical                          mandatory deduction shall be one percent (1%) of
                    Equipment and Service Division, Plumbers Local                            the gross weekly wage of each Employee. The
                    Union No. 1, U.A.                                                         maximum contributions shall be determined by
                                                                                              each employee subject to the laws governing the
             (e)    $0.00 per hour for each Helper, for each hour
                                                                                              Fund. Probationary Helpers shall be excluded from
                    worked, to the Additional Security Benefit Fund,
                                                                                              participating in this plan.
                    Mechanical Equipment and Service Division, Plumbers
                    Local Union No. 1, U.A.                                                  Fringe Benefits for overtime shall be paid at a
                                                                                     (h)
                                                                                             straight time rate.
              (f)   $.38 per hour for each Helper for each hour worked,


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                                                                                      afl Jourrle)lffie-n and-Helper-s -frOiil-l:he ·emptoy-or-sucn-
                (i)
              These sections apply to 1st year, 2nd term through
                                                                                      defaulting Employer, and he/she s~all pay all benefits
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               5th year Helpers.        Document 16-3                          Filed 09/28/17
                                                                                      weekly thereafter.
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                                       ARTICLE V
                                                                                            Should the Employer fail to pay all contributions to
                                       HELPERS
                                                                                         the Joint Plumbing Industry Board as stipulated, as they
                                                                                         pertain to the aforementioned Fringe Benefits Funds,
                      S~CTION 1.   An Employer who shall become a pa:rty                 Political Action Fund, Union Assessment Check-Off
                to thts Agreement shall rate all Employees as Journeymen                 and the 40l(k) Savings Plan, such Employer shall be
                or _Helpers. In the event that the Union objects to the                  liable for the payment of such contributions with interest
                ratmg by the Employer, the Trade Education Committee                     at a rate of ten percent (10%) plus liquidated damages
                of the Joint Plumbing Industry Board may reverse the                     of twenty percent (20%) of the amount owing and all
                Employer's determination.                                                 costs including, but not limited to, reasonable audit and
                                                                                          accounting expenses, witness costs and attorney's fees,
                  SECTION 2. The Employer shall not be required to                        disbursements and court costs (including arbitration,
                pay any contributions for Fringe Benefits for Helpers                     NLRB or otherwise). The charge to a delinquent
                during their first six (6) months as members of this                      Employer for the costs and expenses of collection
                Union.                                                                    and damages to the Joint Plumbing Industry Board shall
                                                                                          in no event be less than one hundred dollars ($100) for
                                                                                          each failure to pay a monthly contribution. This shall
                   SECTION 3. MES Journeyman and Helpers can                              also apply if the Employer remits on a weekly basis.
                perform work in a ratio no greater than four (4) Helpers
                to one (1) Journeyman per jobsite.
                                                                                                               ARTICLE VII
                                       ARTICLE VI
                                                                                            Each Employer shall furnish a Surety Bond for the
                   The Employer agrees that the contributions for the
                                                                                          benefit of the Plumbers Local Union No.I Welfare
                fringe benefits referred to in Tables 1 and 2 are due to the
                                                                                          Fund and related Funds as agent for collection for each
                Joint Plumbing Industry Board by the date established by
                                                                                          of the Fringe Benefit Funds to guarantee the payment
                the applicable Trust Fund.
                                                                                          of all fringe benefits provided for herein. The Union
                                                                                          shall not issue a shop work card to an Employer who is
                  The failure on the part of any Employer to make such
                                                                                          not so bonded, nor shall the Union permit Journeymen
                payments promptly when due shall constitute a breach
                                                                                          and Helpers to work for an Employer who is not so
                of this Agreement authorizing the Union to withdraw
                                                                                                                                                       j_

                                                                                                                     -19-
                                           -18-
             bonded. The amount of the bot1d shall be as Shown in the
             following schedule:                                                                   ARTICLE VIII
Case 1:17-cv-00245-DLI-VMS               Document 16-3
                             AMOUNT OF BOND
                                                                        Filed 09/28/17        Page 13 of FUND
                                                                                               PROMOTION 25 PageID
                                                          #: 73
                                                            Monthly,             The Employers have established, by an Agreement
                  Average No. of                            effective          and Declaration of Trust, a Trust Fund known as the
                  Employees             Monthly              4/I/10            "Plumbing Industry Promotion Fund of New York City"
                                                                               herein after referred to as the "Promotion Fund" for
                  1-2                $ 6,000.00            $ 7,000.00          the mutual benefit of all plumbing contractors who do
                  3-4                 10,000.00             14,000.00          business in the area. The Agreement and Declaration
                  5-6                 14,000.00             21,000.00          of Trust of the said Promotion Fund provides that
                  7-8                 18,000.00             28,000.00          the said Plumbing Industry Promotion Fund shall be
                  9-lO                24,000.00             34,000.00          administered exclusively by Management Trustees
                  11-20               30,000.00             58,000.00          appointed by the Association. Each Employer agrees to
                                                                               be bound by said Trust, amendments thereto and rules
                  $40,000.00 fbr each multiple of 10 Employees plus
                                                                               and regulations thereof and to contribute monthly to the
                  appropriate amount for any remainder.
                                                                               Plumbing Industry Promotion Fund of New York City
                                                                               an amount equal to twenty-five cents ($.25) per hour for
                                                                               each pay hour worked by the Employees of the Employer.
                                                                               Such contributions may be increased up to a total of
                                                                               thirty-five cents ($.35) per hour if and when the Trustees
                                                                               of the said fund adopt a resolution for such increases,
                                                                               provided however that 90 days notice of the adoption of
                                                                               such resolution and the effective date of such increases
                                                                               is given to Employers by letter sent to them. Such
                                                                               contributions shall be payable to the Plumbing Industry
                                                                               Promotion Fund of New York City and are to be remitted
                                                                               to the Joint Plumbing Industry Board (Local No. 1) as
                                                                               collection agent for the Promotion Fund.

                                                                                  The prompt payment of the contribution provided for
                                                                               in this Agreement is essential for the continuing efficient
                                                                               operation of the Promotion Fund. An Employer wbo fails
                                                                               to make such payment shall be liable for the amount of

                                        -20-
                                                                                                          -21-
                                                                                                                         ___       ,   ___
                such contribution with interest at a rate of ten percent           agent for the Union. The original signed authorization
Case 1:17-cv-00245-DLI-VMS
           (10%) plus liquidated damagesDocument
                                        of twenty percent16-3
                                                          (20%) Filed 09/28/17
                                                                        cards shall be Page    14 atofthe25offices
                                                                                       kept on file           PageID
                                                                                                                   of the Union.
                                                       #:but
            of the amount owing and all costs including,  74not         Probationary Helpers are excluded.
                 limited to, reasonable audit and accounting expenses,
                 witness costs and attorney's fees, disbursements and                    The form of authorization to be signed by each
                 court costs. The charge to a delinquent Employer for              Journeyman and Helper with respect to whom a deduction
                 the costs and expenses of collection and damages to               is to be made has been approved by counsel for the parties
                 the Promotion Fund shall in no event be less than one             hereto.
                 hundred dollars ($100) for each failure to pay a monthly
                 contribution. This shall also apply if the Employer remits          It is expressly agreed that the authorizations furnished
                 on a weekly basis.                                                under this Article shall be-of no force and effect and no
                                                                                   deductions shall be made by an Employer when there is
                                       ARTICLE IX                                  no Collective Bargaining Agreement in effect to which
                                                                                   the Employer and the Union are parties.
                   The Association and Union agree to implement a
                 viable and comprehensive Journeyman and Helper                       It is expressly agreed that the Union assumes full
                 Training Program to be directed under the auspices of the         responsibility for the validity and legality of the
                 Plumbers Local Union No. 1 U.A. Joint Apprenticeship              deductions from the Employee's wage made by each
                 Training Committee.                                               Employer and remitted to the Union pursuant to this
                                                                                   Article and the Union hereby agrees to indemnify and
                                  ARTICLE X                                        hold the Employer harmless from all claims, losses,
                        CHECK-OFF OF UNION ASSESSMENT                              expenses, liability and damages to which the Employer
                                                                                   at any time may be subject by reason thereof. If any such
                   Each Employer agrees to deduct weekly from the                  claim is asserted or threatened against the Employer, the
                 wages of each Journeyman and Helper Employee,                     Union and the Employers agree that the Union, at its sole
                 covered by this Collective Bargaining Agreement who               cost and expense shaH undertake the defense of such
                 individually, in writing duly authorizes the Employer             claim on behalf of the Employer and the Employer shall
                                                                              ,I
                 to make such deduction for Union assessments, the sum             cooperate with the Union in the defense thereof.
                 of three percent (3%) of gross weekly wages for the          l
                 preceding week. Each Employer shall issue its check          I
                 payable to the order of the Union for the amount of such
                 weekly deduction and shall remit such check weekly
                 to the Joint Plumbing Industry Board as the collection


                                           -22-                                                               -23-
                                                                                 Arbitr8t0fs cannot agree, then the case must be brought
                         ARTICLE XI                                              to the Full Committee. If one Arbitrator does not appear,
Case 1:17-cv-00245-DLI-VMS
                JOINT ARBITRATIONDocument
                                  COMMITTEE 16-3                          Filed 09/28/17           Page 15 of 25 PageID
                                                                                 that Arbitrator can bring the case to the Full Committee if
                                                            #: 75                such referral is made within three (3) days after a decision.
               All disputes and controversies arising out of and under           The complainant or defendant shall have no right to bring
           this Agreement or related thereto shall be settled by                 the case to the Full Committee if the Arbitrators agree
           arbitration as provided herein with proper speed. The                 on a decision. If the Arbitrators agree on a decision, that
           peaceable resolution of all disputes is of the es.sence.              decision shall be final. If the Arbitrators do not decide the
           There shall be a Joint Arbitration Committee (heremafter              case within ten (10) business days. either the complainant
           "Full Committee") of not less than six (6) or more than               or defendant may bring the case to the Full Committee.
           ten (10) members with an equal number appoin:ed by the                The Full Committee shall hear and decide the case within
           Union and the Association. The Full Committee shall                    twenty (20) days of the date the Arbitrators cannot agree
            make its own rules and formulate its own procedllre, not              on the case and is brought to the FuU Committee. If
            otherwise contrary to the provisions herein. The Full                the complaint and/or dispute is not resolved within the
            Committee shall designate a person to receive complaints              time limited by the Full Committee, then either the
            and/or disputes. All complaints and/or dis~utes shall                 complainant or defendant may request final arbitration by
            be submitted in writing to the person so designated by                a neutral third party Arbitrator. Within five (5) days from
            the Full Committee. All complaints shall first be heard               the failure of the Full Committee to resolve the complaint
            and arbitrated by an Executive Committee within ten                   and/or dispute, the Association and Union shall agree
            (10) business days after such complaints and/?r disputes              upon the appointment of a neutral third party Arbitrator
             are presented in writing to the person destgnated .by                from the American Arbitration Association of New York
             the Full Committee to receive them. The Executlve                    City. If the Association and Union do not agree then the
             Committee shall be composed of two (2) Arbitrators,                  American Arbitration Association of New York City
             one (I) Arbitrator, a representative appo.inted b~ the               shall designate the neutral third party Arbitrator. The
             Union, and one (1) Arbitrator, a representative appomted             Arbitrator shall immediately hold hearings and render
             by the Association. Neither representati~e shall be. the             the award with dispatch, the award to be final, binding
             complainant nor the defendant. The Executive C.ommtttee              and conclusive. No Arbitrator designated under this
              shall hear a case and settle it. The complamant and                 Agreement shall have the right to alter, modify or amend
              the defendant may present their case to the Executive                it. All final awards shall be in writing signed by the
              Committee. If the complainant or defendant or both or               Arbitrator as representing the agreed award and shall
              one of the Arbitrators do not appear at the hearing, a              be enforceable in Federal and State Court under the
              decision may be rendered in their absence ~rovided all              applicable law.
              parties and the Arbitrators have been given f1v~ (5) days
              written notice of the hearings by certified mali. If the
                                                                                                                                                 l-
                                                                                                                                                 i
                                                                                                               -25-
                                       -24-
                  The Arbitrators, whether Executive Committee, Full                     Once a plumbing contract has been awarded, the
Case 1:17-cv-00245-DLI-VMS
           Committee or other Arbitrators, Document        16-3
                                           shall have the authority           Filed 09/28/17      Page
                                                                                     Committee cannot grant 16  of 25 toPageID
                                                                                                            adjustments  this Agreement.
           to award money damages and payments including#:interest
                                                              76                       The Joint Committee may adopt additional rules
                and penalties, impose a special job. m: shop stew.ard or               and regulations for the proper administration of the
                other remedy or relief. Whenever It ts not posstble or                 Committee, with the approval of the Joint Negotiating
                practical to identify particular Employees who have                    Committee.
                suffered a financial loss due to an Employer's breach of
                this Agreement, the parties may agree, or an arbitrator(s)                            ARTICLE XIII
                may so order, that any payment due as a resu.lt of the                        INTERPRETATION OF AGREEMENT
                Employer's breach to be paid to the Trade Educatwn Fund
                and/or the Welfare Fund.                                                 The parties hereto agree that this Agreement shall
                                                                                       constitute the only prevailing terms and conditions of
                                   ARTICLE XII                                         employment for all Employees covered herein during the
                             JOB TARGET AND MARKET                                     period hereinabove specified. The Union agrees that no
                               RECOVERY PROGRAM                                        more favorable terms and conditions shall be granted to
                                                                                       any Employer of such Employees.
                    The parties have agreed to form a Joint Co~mittee to
                 target specific jobs. The sole purpose of this prog~·~m                              ARTICLE XIV
                 is to secure additional employment opportumtles                            INSPECTION OF BOOKS AND RECORDS
                 for Local Union No. l members and the signatory
                  contractors within this jurisdictional area. The Job                    The Employer agrees to keep his/her labor payrolls,
                  Target Committee shall consist ~f three (3) Ma~agement               job time books and compensation books available
                  Representatives and three (3) Umon Represe~tattves,. who             for joint inspection by representatives of the Union,
                  shall meet on a regular basis. A quorum wtll constst of              the Association and the Accountant of the Plumbing
                  two (2) Management Representatives and two (2) "£!nion               Industry Board who shall be permitted to examine same
                  Representatives. The committee will review all available             to determine if the Employees are receiving wages as
                  information. In an area where a problem exists with non~             provided for in this Agreement, also to check the Fringe
                  signatory competition, there may be adjustmen~s. to this             Benefits, Compensation and Insurance payments. This
                  Agreement made in order to increase the compettttveness              does not mean cost and progress records at job or office.
                   of the signatory contractors. A majo.rity v~te of the               The Employer agrees to provide adequate Workmen's
                   Committee shall be required for any proJect adjustments.            Compensation Insurance, Unemployment Insurance,
                   The decision of the Joint Committee will be sent to all             Social Security, Disability Insurance or any other fund
                   signatory contractors.                                               mutually agreed upon by both parties, and any such
                                                                                                                                                   i-

                                            -26-                                                                 -27-
                 other insurance required under the statutes or otherwise     by incorporated minutes. Where Man~gement Tr~stee~
Case 1:17-cv-00245-DLI-VMS                Document
            under the City of New York, United            16-3 Filed 09/28/17
                                                States government,                  Page 17
                                                                        are to be appointed, they of 25bePageID
                                                                                                   shall   appointed by the
                                                        #:of77
            or any other division, Agency or Bureau of any   them.     Association. Where Labor Trustees are to be appointed,
                 Each Employer shall provide all such insurance even         they shall be appointed by the Union.
                 though two (2) persons or less are in his/her employ,
                 all in accordance with the law of the locality where the    BOARD TO RECEIVE FRINGE BENEFITS
                 work is done. Further, if court action is commenced to      PAYMENT; The Joint Plumbing Industry Board shall
                 compel such an audit because of failure of the Employer     continue to receive, beginning with the effective date of
                 to provide such books and records within twenty (20)        this Agreement, from each Employer all Fringe Benefits
                 days after a request by certified mail, the Employer        and Contributions mentioned in this Agreement. The
                 shall pay to the Board the sum of $5,000 or a greater       Joint Plumbing Industry Board shall have the right
                 sum constituting reasonable attorney's fees, for the cost   to proceed directly to collect all fringe benefits at1d
                 of bringing court action to compel compliance with this     contributions in an action in Federal and State court
                 provision. 1f monies are found to be owing, the Employer    without first resorting to any arbitration procedure under
                 shall pay the cost of the audit.                            this contract.

                                  ARTICLE XV                                                   ARTICLE XVI
                        JOINT PLUMBING INDUSTRY BOARD                                     CONTRACT TERMINATION

                 COMPOSITION OF BOARp:                 There is a Joint      EFFECTIVE DATE TERMINATION DATE                      120
                 Plumbing Industry Board in the jurisdiction of Local        DAY CONFERENCE PROVISION
                 Union No. 1 which consists of an equal number of Union
                 representatives and bonafide established contractors who    This Agreement shall be in full force and effect as of
                 employ Journeymen and Helpers within the jurisdiction       October 1, 2009 and shall remain in force until September
                 of Local Union No. 1. The Employer agrees to be bound       30, 2013. One hundred and twenty (120) days prior to the
                 by the provisions of the Trust Agreements pertaining to     expiration of this Agreement a conference of all Parties
                 Pension, (including the Plumbers and Pipefitters National   hereto shall be held for the purpose of consummating a
                 Pension Fund) Welfare, Vacation-Holiday, Additional         new Agreement.
                 Security Benefits, Trade Education, 401(k) Savings
                 Plan and any other established funds and the rules          The undersigned Employer and individual signatory
                 and regulations of such Funds and Trust Agreements          acknowledges that Local Union No. 1 of the United
                 pertaining to the Joint Plumbing Industry Board and the     Association of the Plumbing and Pipe Fitting Industry
                 rules and regulations thereof and Amendments thereto        of the United States and Canada claims to represent
                                                                             a majority of the bargaining unit, and the Employer          ,_
                                           -28-                                                       -29-
                 acknowledges and agrees} that based upon Local Union
Case 1:17-cv-00245-DLI-VMS
            No. 1 having presented or offeredDocument
                                                 evidence of16-3
                                                             majority Filed 09/28/17     Page 18 of 25 PageID
            support, that a majority of its Employees have #: 78
                                                           authorized
                 Local Union No. 1 to represent them in collective bargaining,
                 and the Employer hereby recognizes Local Union No. 1 as
                 the exclusive bargaining representative under section 9(a)                JOINT NEGOTIATING
                 of the National Labor Relations Act of all full time and               COMMITTEE SIGNATORIES
                 regular part time Plumbers on all present and future job                       FOR THE
                 sites within the jurisdiction of Local Union No. 1.             ASSOCIATION OF CONTRACTING PLUMBERS
                                                                                     OF THE CITY OF NEW YORK, INC.
                 Any entity wishing to abrogate this Agreement must
                 notify both the Association and the Union in writing
                 by certified mail a minimum of one hundred and eighty                      Lawrence J. Levine
                 (180) days prior to the expiration date of this Agreement.                    CHAIRMAN

                                     ARTICLE XVII                                              Irwin Brenner
                                    UNION SECURITY
                                                                                              Robert Fiduccia
                 UNION MEMBERSHIP - A CONDITION OF
                 EMPLOYMENT: All members of the Union employed                               Robert Greenberg
                 by the members of the Association and by the Employers
                 who agree to be bound by this Agreement shall remain                         Tom Maniuszko
                 members in good standing in the Union during the life
                 of the Agreement or any renewal or extension thereof as                      Robert A. Ricco
                 a condition of employment. All Employees thereafter
                 employed must become members of the Union within                           C. Theodore Vitanza
                 sixty (60) days and remain members in good standing in
                 the Union as a condition of employment for the period                       Stewart 0 'Brien
                 or periods mentioned above .In the event that during the              EXECUTIVE VICE PRESIDENT
                 term of this Agreement there is a change in the law which
                 will permit a greater degree of Union security to the
                 Union, such Union security as provided above shall be
                 modified so as to provide the maximum degree of Union
                 security permitted by such change in the law.

                                             -30-                                                 -31-
                                                              PLUMBERS AND GASFITIERS LOCAL UNION NO. I
Case 1:17-cv-00245-DLI-VMS          Document 16-3   Filed 09/28/17        PageOF19  THEof 25 PageID
                                           #: 79                UNITED ASSOCIATION OF JOURNEYMEN AND
                                                                              APPRENTICES
                                                                            OF THE PLUMBING
                                                            AND PIPE FITTING INDUSTRY OF THE UNITED STATES
                                                                       AND CANADA NEW YORK CITY

                  SIGNATORIES FOR                              INDEPENDENT MECHANICAL EQUIPMENT AND
            PLUMBERS LOCAL UNION NO. I, U.A.              SERVICE DIVISION COLLECTIVE BARGAINING AGREEMENT

                                                          The undersigned Plumbing Contractor and individual
                      George W Reilly                     signatory agree to be bound by all provisions of the
                       CHAIRMAN                           Collective Bargaining Agreement between Local Union
                                                          No. I of the United Association of Journeymen and
                      Freddy Delligatti                   Apprentices of the Plumbing and Pipe Fitting Industry
                                                          of the United States and Canada and the Association of
                     Donald T. Doherty                    Contracting Plumbers of the City of New York and any
                                                          amendments renewals and extensions that may hereafter
                      Richard Garner                      be made by the parties to the Agreement. The undersigned
                                                          individual signatory acknowledges that he/she has read
                      Daniel Lucarelli                    the agreed upon changes of the Collective Bargaining
                                                          Agreement, effective October 1, 2009 (attached).
                       John J. Murphy                     The undersigned Employer and individual signatory
                                                          acknowledges that Local Union No. I of the United
                      Raymond Rondino                     Association of the Plumbing and Pipe Fitting Industry
                                                          of the United States and Canada claims to represent
                                                          a majority of the bargaining unit, and the Employer
                                                          acknowledges and agrees, that based upon Local Union
                                                          No. 1 having presented or offered evidence of majority
                                                          support, that a majority of its Employees have authorized
                                                          Local Union No. 1 to represent them in collective
                                                          bargaining, and the Employer hereby recognizes Local
                                                          Union No. I as the exclusive bargaining representative      !-

                             -32-                                                   -33-
                                                                                    Employer (Individual/Firm Corporate)
           under section 9(a) of the National Labor Relations Act of                PLEASE PRINT CLEARLY
Case 1:17-cv-00245-DLI-VMS
           all full time and regular part time Document          16-3
                                                Plumbers on all present      Filed 09/28/17                 Page 20 of 25 PageID
           8.nd future job sites within the jurisdiction of     #:Local
                                                                    80
           Union No. 1. The undersigned Plumbing Contractor and                     !~~;:s:s.~-~~~~.:::::::::::: :::::::::: ·::·········· .................................. ,
           individual signatory agree to be bound to all agreements,
           declarations of trust, amendments and regulations
           thereto, referenced in the Collective Bargaining                         ~:~~:~~~~:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::····
                                                                                                                                   .................................
           Agreement. All contributions shall be remitted as set                    E-mail Address ........................ .
           forth under the Collective Bargaining Agreement and                      Name of Government Agency
            declarations of trust amendments and regulations thereto,
            referenced in the Collective Bargaining Agreement. The
                                                                                    License#Plumber's License ··························· ····················
                                                                                    Issuing

            undersigned agrees to be bound by any amendments                        Employer                     ····· .................... ······ · ········
                                                                                                  i~i;~~ifi~~~-;~·~·#···

            to the Collective Bargaining Agreement and all                          Name/Tttle of Person Stgni~~·:::·::::·::··:::··:·:::::·: .... ······ ' · ··
            amendments and regulations of the aforesaid declaration                 Signature.............................. , ......................... ···· ······· · ··
            of trusts and anything supplementary thereto as adopted                 Date ofSigning .....................                 ......................................
                                                                                                                                                           ................... .
             by the aforesaid Association and aforesaid Local Union
             or their designated trustees. The undersigned Plumbing                 Plumbers Local Union No. 1
             Contractor and individual signatory agree that the                     ~ame/Title ofPerson Signing ...................................... .
             Collective Bargaining Agreement to which they shall
             be bound shall continue in effect until and including                  ~:~:a~~~:~~i~~·:::::::::::::::::::::::::::::::::::::·······················
                                                                                                                                           ................................
             September 30, 2013 and during each year thereafter
             unless on or before the fifteenth (l5 1h) day of June, 2013,                     158-29 GEORGE MEANY BOULEVARD
             or on or before the fifteenth (15 1h) day of June of any year                     HOWARD BEACH, NEW YORK 11414
              thereafter, written notice of termination or proposed                                   PHONE (718) 738-7500
              changes shall have been served by either party on the                                    FAX (718) 835-0896
              other party via certified or registered mail.




                                                                                                                             -35-
                                             -34-
                                                                                          PLUMBERS AND PIPEFITTERS
Case 1:17-cv-00245-DLI-VMS                  Document 16-3               Filed 09/28/17NATIONAL
                                                                                         Page PENSION
                                                                                               21 of 25FUND
                                                                                                        PageID
                                                   #: 81                      Revised Standard Form of Participation Agreement

                                                                              The undersigned Employer and Union agree that the
                                                                              Employer shall make pension contributions to the
                                                                              National Pension Fund in accordance with the terms of
                PENSION                                                       this Agreement on behalf of those Employees who are
                                                                              covered by the National Pension Fund pursuant to the

                 TRUST                                                        Collective Bargaining Agreement.

                                                                              1 a)    Commencing with the first" day of         ,20_,

               AGREEMENT                                                              and for the duration of the current Collective
                                                                                   Bargaining Agreement between the parties, any
                                                                                   renewals or extensions thereof, the Employer agrees
                                                                                   to make payments to the Plumbers and Pipefltters
         UNITED ASSOCIATION PENSION PLAN- Employers                                National Pension Fund for each Employee who is in
         agree to make contr"ibutions to the Plumbers and Pipefitters              each classifiCation listed below in accordance with
         National Pension Fund in accordance with the Standard                     the Collective Bargaining Agreement as follows:
         Form of Participation Agreement as on file at the Joi~t                                                            Effective
         Plumbing Industry Board and made as part of th1s                     Classification            Amount                Date
          Agreement                                                           Journeyman                _per hour
                                                                              Helper                    _per hour
                                                                              Other (specify)           _per hour

                                                                              Any classification of Employees who are excluded from
                                                                              the Plan pursuant to good faith bargaining and for whom
                                                                              contributions are not required shall not participate in the
                                                                              Plan. Persons in such excluded classifications shall not
                                                                              be considered "Employees" for purposes of the Plan and
                                                                              this Standard Form of Participation Agreement.
                                                                              b)     The Employer shall make the contributions set out in
                                                                                     subparagraph l(a) for each hour or portion thereof,

                                     -36-
                                                                                                                                            r
                                                                                                          -37-
                                                                                              Employer so adopting the Restated Agreement and
              for which an Employee is paid or entitled to payment                       Declaration Page
                                                                                                     ofTrust thereby
Case 1:17-cv-00245-DLI-VMS               Document 16-3
              for performance of duties for the Employer. (Each
                                                                               Filed 09/28/17                 22 ofratifies, accepts and des-
                                                                                                                     25 PageID
                                                                                              ignates as its representatives the Employer Trustees
                                                          #: 82
              overtime hour shall be counted as one regular   hour                            then serving as such and authorizes said Employer
                   for which contributions are payable.)                                      Trustees to designate additional Employer Trustees
                c)  Contributions set out in subparagraph l{a) above                          and successor Employer Trustees in accordance with
                   shall be paid starting with the Employee's first day                       the terms and conditions thereof, and authorizes the
                    of employment in a job classification covered by the                      Trustees to adopt amendments to the Restated Agree-
                    Collective Bargaining Agreement.                                          ment and Declaration ofTrust. The Employer hereby
                                                                                              acknowledges receipt of a copy of the Restated
                d) The Employer shall continue contributions to the
                                                                                              Agreement and Declaration of Trust in effect when
                    Fund for any compensated Employees who were
                                                                                              this Agreement is signed.
                    previously covered by the Fund as members of the
                    bargaining unit and who are continuing to perform                    3.   It is agreed that the Pension Plan adopted by the
                    work of the type covered by the Collective Bargain~                       Trustees of the said Pension Fund shall at all times
                    ing Agreement for at least half oftheir hours with the                    conform with the requirements of the Internal Rev~
                    Employer. It is understood that the Employer may                          enue code so as to enable the Employer at all times to
                    not make contributions on behalf of an Employee                           treat contributions to the Pension Fund as a deduction
                    who owns, or whose spouse owns, 10% or more of                            for income tax purposes.
                    the corporation unless it signs and abides by a Partici~             4.   It is agreed that all contributions shall be made at
                    pation Agreement covering such owner Employees.                           such time and in such manner as the Trustees require,
                     It is also agreed that the Employer shall not make                       and the Trustees shall have the authority to retain an
                     contributions to the Fund on behalf of any employees                     accountant or accounting finn to perform payroll
                     other than those specified herein.                                       audits of the Employer to determine whether the cor-
                 2. The payments to the Pension Fund required above                           rect amount of contributions have been made or to
                     shall be made to the "Plumbers and Pipefitters Na~                       determine whether contributions have been made on
                      tional Pension Fund" which was established under an                     behalf of all Employees covered by the Plan.
                      Agreement and Declaration of Trust, dated July 23,                 5.   If an Employer fails to make contributions to the
                      1968 and restated December 13, 1978. The Employ-                        Pension Fund within twenty (20) days of the end of
                      er, by signing this Standard Form of Participation                      the month during which the work was performed,
                      Agreement, or by signing a Collective Bargaining                        the Union shall have the right to take whatever steps
                      Agreement providing for participation in the Plumb-                     are necessary to secure compliance, any provision of
                       ers and Pipefitters National Pension Fund, agrees to                   the Collective Bargaining Agreement to the contrary
                       be bound by all of the terms and conditions of the                     notwithstanding, and the Employer shall be liable for
                       Restated Agreement and Declaration of Trust. Any
                                                                                                                    -39-
                                            -38-
                      all costs and expenses for collecting the payments
                                                                                              Notes
Case 1:17-cv-00245-DLI-VMS               Document
               due, together with attorneys' fees, interest 16-3
                                                            on the un- Filed 09/28/17   Page 23 of 25 PageID
               paid contributions of 11% per annum and#:    liquidated
                                                               83
                      damages of 10% of the unpaid contributions. The
                      Employer's liability for payment hereunder shall not
                      be subject to the grievance or arbitration procedure or
                      the "no-strike" clause provided under the Collective
                      Bargaining Agreement.
                 6.   The parties agree that this Participation Agreement
                      shall be considered a part of the Collective Bargain-
                      ing Agreement between the U11dersigned parties.
                 7.  The expiration date of the present Collective Bar-
                     gaining Agreement between the undersigned parties
                     is                 , 20 _ . Copies of the Collec-
                     tive Bargaining Agreements and all renewal or ex-
                     tension agreements will be furnished promptly to the
                     Pension Fund office and, if not consistent with this
                     Participation Agreement, can be used by the Trustees
                     as the basis for termination of participation of the
                     Employer.
                  For Local Union No, ___ , United Association
                 by ______~~~~~~~~--------
                            (Authorlzed Union Officer)
                  For the Employer*

                            (Insert Narne of Employer)
                  Address: _______________________

                  by __~--~~~~--~~--~-----
                           (Authorized Officer of Employer)
                  Date                 , 20 -c---:--::-:-
                  *If Employer Association, attach a list of the names
                  and addresses represented by Association.
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                         Notes                                       Notes
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